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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

 JERYL TURCO,                            Case No. 2:15-cv-03008

                    Plaintiff,           Judge Susan D. Wigenton
                                         Magistrate Judge Leda D. Wettre
 v.
                                         Motion Day: June 19, 2017
 CITY OF ENGLEWOOD,
 NEW JERSEY,

               Defendant.
 ________________________________/


       PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                                INTRODUCTION

       This should be an easy case. It is not often that the parties and the Court

 have the benefit of a unanimous Supreme Court decision on all fours construing a

 virtually identical law, adopted under virtually identical circumstances, with the

 parties making many of the identical arguments considered and disposed of by the

 High Court. But this is such a case. See McCullen v. Coakley, 134 S. Ct. 2518

 (2014).

       Englewood adopted its buffer zone Ordinance without waiting for the

 Supreme Court’s guidance as to the constitutionality of the very law that

 Englewood used as its model.1 The City now seeks summary judgment on Jeryl

 Turco’s modest claim that the Massachusetts buffer zone law is just as

 unconstitutional in New Jersey as it was in Massachusetts. However, as the record

 is empty of credible evidence that the City somehow clairvoyantly anticipated

 McCullen’s requirement that a city defending such a law show that it “seriously

 undertook to address the problem with less intrusive tools readily available to it,”

 id. at 2539, Englewood should be made to go back to square one, just as

 Massachusetts and other jurisdictions did after the McCullen decision was

 announced. As argued herein, there is certainly no basis in the City’s motion,

 1
   Englewood’s Ordinance was adopted at the City Council Meeting of March 18,
 2014, after McCullen had been argued at the Supreme Court. The Ordinance was
 effective as of March 31, 2014. The McCullen decision was announced on June 26,
 2014.

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 which fails utterly to demonstrate that the City has carried its burden under

 McCullen, to justify granting summary judgment in Englewood’s favor.

                                    ARGUMENT

 I.    THE LEGAL STANDARD AFTER MCCULLEN AND BRUNI

       The parties appear to be in agreement on the correct legal standard for

 assessing Plaintiff’s challenge to the Ordinance in the wake of the Supreme

 Court’s decision in McCullen and the Third Circuit’s explication of that holding in

 Bruni v. City of Pittsburgh, 824 F.3d 353 (3d Cir. 2016). To satisfy intermediate

 scrutiny in this context, McCullen requires that the City show that it “seriously

 undertook to address the problem with less intrusive tools readily available to it.”

 134 S. Ct. at 2539. As the Third Circuit explained in Bruni, McCullen requires that

 the “sovereign justify its regulation of political speech by describing the efforts it

 had made to address the government interests at stake by substantially less-

 restrictive methods or by showing that it seriously considered and reasonably

 rejected ‘different methods that other jurisdictions have found effective.’” Bruni,

 824 F.3d at 371 (quoting McCullen, 134 S. Ct. at 2539). And particularly apropos

 with regard to Englewood’s summary judgment motion, is the Fourth Circuit’s

 observation, applying McCullen:

       [I]ntermediate scrutiny does indeed require the government to present
       actual evidence supporting its assertion that a speech restriction does
       not burden substantially more speech than necessary; argument



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       unsupported by the evidence will not suffice to carry the
       government’s burden.

 Reynolds v. Middleton, 779 F.3d 222, 229 (4th Cir. 2015).

       In short, Englewood, as the movant here, has the burden of proving the

 constitutionality of its actions, see, e.g., United States v. Marcavage, 609 F.3d 264,

 279 (3d Cir. 2010), and must come forward with actual evidence—not mere

 conclusions or disputed factual assertions—that demonstrates that “alternative

 measures that burden substantially less speech would fail to achieve the

 government’s interests, not simply that the chosen route is easier.” McCullen, 134

 S. Ct. at 2540.

 II.   THE CITY FAILS TO CARRY ITS BURDEN UNDER MCCULLEN
       AND BRUNI

       The City seeks to avoid liability and escape a finding of unconstitutionality

 as a matter of law by invoking the very same defense used unsuccessfully by

 Massachusetts in McCullen: “We have tried other approaches, but they do not

 work.” Id. at 2539. In fact, in rejecting the state’s defense in McCullen, it is

 remarkable just how exactly on point are the Court’s words when it comes to

 Englewood:

       Although respondents claim that Massachusetts “tried other laws
       already on the books,” they identify not a single prosecution brought
       under those laws within at least the last 17 years. And while they
       claim that the Commonwealth “tried injunctions,” the last injunctions
       they cite date to the 1990s.”



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 Id. at 2539.

        The Court made short work of this defense, holding that Massachusetts “has

 not shown that it seriously undertook to address the problem with less intrusive

 tools readily available to it. Nor has it shown that it considered different methods

 that other jurisdictions have found effective.” Id.

        Englewood is in precisely the same posture here as was Massachusetts in

 McCullen: no prosecutions under a myriad of existing laws—including the one the

 Ordinance replaced—no new laws modeled on the federal Freedom of Access to

 Clinic Entrances statute (“FACE”) or other laws targeting specific, non-expressive

 misconduct outside clinics, and no injunctions other than one dating to the 1990s.2

 Nothing. If this was enough to persuade all nine members of the U.S. Supreme

 Court to strike down the statute in McCullen, it is difficult to see how Englewood

 hopes to save its copycat Ordinance, let alone have summary judgment granted in

 its favor.

        It is true that Englewood does add certain allegedly considered-and-rejected

 “alternative measures” not discussed in McCullen, but these add nothing to the

 argument. In fact, if anything, one could say that Englewood places itself in an


 2
  An injunction which, according to the former Police Chief, worked remarkably
 well in quelling disturbances caused by protestors outside the same clinic. [Pl.
 MSJ, Ex. F, O’Keefe Cert. at ¶¶ 5-6.] (Exhibits to Plaintiff’s Statement of Material
 Facts Not in Dispute in Support of Plaintiff’s Motion for Summary Judgment (ECF
 Doc. 43) are referred to as “Pl. MSJ, Ex. ____.”)

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 even worse position than Massachusetts by identifying and then inadequately

 justifying its rejection of at least one effective measure that Massachusetts did not

 identify in its defense: increased police presence.

       As for the City’s other “alternative measures,” and/or its reasons for

 rejecting the measures specified in McCullen, the City has not shown either that

 the measures themselves were reasonable (e.g., parking tickets), or that its rejection

 of actual potentially effective measures was reasonable. Furthermore, the City does

 not even address one of the measures the McCullen Court deemed particularly

 likely to satisfy intermediate scrutiny: narrowly tailored laws targeting specific,

 non-expressive bad conduct.

       A.     Increased Police Presence

       There is ample evidence in the record that increased police presence at 40

 Engle Street, the site of Metropolitan Medical Associates (“MMA”), would have,

 if seriously pursued, succeeded in achieving the goal of reining in the reportedly

 unlawful conduct of the Bread of Life group. Both the former police chief and the

 City Council President at the time the Ordinance was adopted testified that, when

 police officers were present outside MMA, the alleged misconduct of the Bread of

 Life members did not occur. [Pl. MSJ, Ex. J, O’Keefe Dep., 35:18-25; Pl. MSJ,

 Ex. I, Algrant Dep., 47:14 to 48:5.] But the City goes on to say that it rejected the

 option of increased police presence, whether in the form of assigning an officer to



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  the clinic on a regular basis whenever trouble was expected (at most, three hours a

  week) or in some other form, because such allocation of resources would be “cost

  prohibitive.” [Pl. MSJ, Ex. Q, Dacey Dep., 14:16-18.] This bald conclusion,

  however, is not supported by the production of any evidence of what such

  increased police presence would have cost, what the City’s financial or personnel

  resources were in 2013-2014, or what the City’s budgetary outlook was at the time.

  This is insufficient under McCullen and Bruni. It is not “actual evidence” of

  anything other than a conclusion—more like a hunch—arrived at with no serious

  study of the costs and benefits of the idea.

        The same is true of the former Police Chief’s conclusory statement about not

  having the manpower “to simply dedicate an officer four hours at a time every

  day.” See Def. Brief at 10.3 Not only does the City provide zero actual evidence of

  numbers regarding the City’s available police personnel, it is also clear that the

  Chief—who retired within two months of the start of the trouble and three months

  before the Ordinance was passed—was grossly exaggerating (or simply misspoke

  about) the amount of time involved. Rather than “four hours at a time every day,”

  the City’s other witnesses and the Plaintiff agree that the Bread of Life

  contingent’s modus operandi was to show up only for three hours one day a

  week—Saturday—and then, according to Council President, Algrant, only every

  3
    Citations to Defendant’s Memorandum of Law in Support of Summary
  Judgment, ECF Doc. 44-2, are abbreviated as “Def. Brief.”

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  other Saturday. [See Pl. MSJ, Ex. D, Turco Dec. at ¶ 13; Pl. MSJ, Ex. I, Algrant

  Dep., 25:7-16; 60:17-18; 60:25 to 61:2 (Bread of Life only there “every other

  Saturday,” “every other weekend”).] Moreover, Chief O’Keefe testified that,

  regarding Saturdays, “we could afford one officer for a couple hours for a period of

  time,” although, without explanation, he added “but it couldn’t be an indefinite

  situation.” [Pl. MSJ, Ex. J, O’Keefe Dep., 35:13-17.]

        But one need not look far to discover why this one approach (increased

  police presence) was actually rejected out of hand without serious study. The City

  Administrator, when asked whether or not the City had ever undertaken a cost

  study of assigning a police officer to the scene for three hours every other

  Saturday, or even every Saturday morning, at first invoked the “too expensive”

  excuse, but then acknowledged that no actual cost study was ever undertaken,

  because “we generally do not provide individual police coverage to businesses in

  the City. I wouldn’t consider doing that.” [Pl. MSJ, Ex. Q, Dacey Dep., 14:11 to

  15:20.]

         Keeping the peace on a city owned, public sidewalk that serves as a

  traditional public forum for discussion and debate, is hardly the equivalent of

  providing private security service to a business. See Frisby v. Schultz, 487 U.S.

  474, 480 (1988) (stating that “public streets and sidewalks have been used for




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  public assembly and debate, the hallmarks of a traditional public forum”).4 This is

  particularly so where, as the City Council President testified, many of the incidents

  of alleged aggressive, violent, intimidating, and harassing behavior that spurred the

  City to amend the ordinance took place, not in front of 40 Engle Street, but in the

  neighborhood generally. [Pl. MSJ, Ex. I, Algrant Dep., 49:14-23.] The City cannot

  avoid its responsibility to protect the rights of patients and employees of MMA, the

  clinic escorts, the sidewalk counselors, and, yes, even aggressive protestors in a

  traditional public forum, by claiming that this is a matter of purely private concern.

  Thus, whether the defense is premised on “prohibitive cost” (a conclusion for

  which no evidence is presented) or the alleged “private” nature of the problem (a

  conclusion which has no basis in law or common sense) the defense is certainly

  insufficient as a matter of law. Moreover, the City cannot say that it “seriously

  considered” something—increased police presence at the clinic—when the City

  Administrator says flat out, “I wouldn’t consider doing that.” [Pl. MSJ, Ex. Q,

  Dacey Dep., 14:11 to 15:20.]




  4
    See also, United States v. Kokinda, 497 U.S. 720, 743 (1990) (public access to
  sidewalks “is not a matter of grace by government officials but rather is inherent in
  the open nature of the locations.”); Cornelius v. NAACP Legal Defense & Educ.
  Fund, Inc., 473 U.S. 788, 800 (1985) (“a principal purpose of traditional public
  fora is the free exchange of ideas”); Schneider v. New Jersey, 308 U.S. 147, 163
  (1939) (streets and sidewalks “are natural and proper places for the dissemination
  of ideas and opinion”).

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        B.     Increased parking enforcement

        Another “alternative measure” reported by the City cannot be taken

  seriously. In response to an alleged invasion of “violent and aggressive” “harassing

  and intimidating” lawbreakers suddenly besetting innocent citizens on its streets,

  the City decided to give out parking tickets. Def. Brief at 11. All of the

  aforementioned conduct (violence, harassment, etc.) was, of course, already

  proscribed by law, and, if actually occurring, quite serious. Yet, rather than doing

  whatever it needed to do to gather direct evidence of such crimes—crimes which

  were allegedly being perpetrated at the same time, at the same place, by the same

  people, in plain view, on a weekly or bi-weekly basis—the City sought to address

  this crime wave by patrolling a parking lot where the perpetrators were thought to

  be parking their vehicles and issuing parking citations. This is unreasonable on its

  face as an “alternative measure” under McCullen.

        How is it that the City could afford to assign police officers to patrol the

  library parking lot on a regular basis whenever trouble was brewing at MMA, but

  could not afford to assign officers to be on the actual scene of the alleged violence

  and harassment, especially when the City knows that police presence on the scene

  invariably prevented those things? The City does not tell us. Indeed, there are

  “alternative measures” that deserve to be considered under McCullen and Bruni,




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  and there are “alternative measures” that do not so deserve. Parking tickets fall

  within the latter category.

        C.     The City’s Alleged Inability to Prosecute Lawbreakers

        The City devotes much space in its Brief to what it apparently considers its

  best response to the admitted fact that, just like Massachusetts in McCullen,

  Englewood can point to not a single prosecution for the alleged violent, harassing,

  threatening, intimidating, assaulting, obstructing, and excessively loud behavior of

  the Bread of Life members under already existing state, federal, and local laws.

  The City claims that it would have been forced to rely on witnesses and victims

  who were unwilling to file complaints. The City argues that the “legitimate fear” of

  such people to have their names and other identifying information revealed

  publicly somehow excuses Englewood from enforcing the law. The City’s

  argument fails for at least two reasons.

        First, assuming arguendo that the unwillingness of witnesses to come

  forward with complaints about criminal behavior is a dispositive distinction

  between Englewood’s position and that of the State of Massachusetts in

  McCullen—it is not—Englewood cannot possibly rely on it to obtain summary

  judgment because it is preeminently a matter of factual dispute. Yes, it would

  appear that on perhaps one or two occasions City police officers were told by clinic

  escorts that they were unwilling to file charges against Bread of Life protestors out



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  of fear of retaliation. And, yes, one would imagine that patients seeking services

  from MMA would also be reluctant to get involved for several reasons, mostly, one

  would think, from sheer privacy concerns.

        But the discovery materials, all of them from the City’s own records or

  witnesses, tell a different story. For example, Exhibit S of Plaintiff’s Summary

  Judgment Motion contains a selection of six official Englewood police

  investigation reports from 2013 and 2014. [Pl. MSJ, Ex. S, Englewood Police

  Reports.] Those reports contain complaints about allegedly unlawful protestor

  behavior made by no fewer than five doctors employed by MMA, two other

  employees of MMA, and one volunteer clinic escort. Each of the reports contains

  what one presumes are the complainants’ real names and—at least prior to

  redaction by the City—the victims’ addresses. The records do not indicate why

  these particular complaints did not result in actual prosecutions, but they do

  indicate that the City’s “nobody would complain” argument is highly questionable.

  Here were victims who did complain and did give their names and addresses.

        The police investigation reports are not the only thing that contradicts this

  “fear factor” argument. The minutes of the City Council meetings from both

  October and November 2013, indicate that several doctors who worked for MMA

  addressed these very public gatherings and gave both their names and work

  addresses. [Pl. MSJ, Ex. K, L, and M.] In fact, the letter submitted by the clinic



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  doctors at the November 12, 2013 meeting is signed by no fewer than nine

  individual doctors who were apparently not afraid to publicly identify themselves

  in this fashion and give the address of their place of employment. (In the same

  letter, they also helpfully direct the City to some of the legal tools readily available

  to it to deal with the problems they describe, including the federal FACE statute.)

  [Pl. MSJ, Ex. M.] The City cannot plausibly contend that these doctors—

  presumably the people who actually perform the abortions at MMA—had less

  reason to fear “anti-choice extremists” than other clinic employees, the off-duty

  police officer who works as the MMA security guard, or the volunteer clinic

  escorts. Yet here they are, unafraid to show themselves and give their names and

  workplaces in a public meeting in which they demand that the City take action

  against the Bread of Life group.

        As for the volunteer escorts who, we are told, were so fearful of revealing

  their identities that they could not possibly be expected to file charges against the

  individuals doing all the violence, harassing, assaulting, obstructing, etc. that they

  claimed to be witnessing on a weekly basis, it would seem that several of them had

  (and have) no hesitancy about sharing their names, their faces, their connections

  with the MMA clinic, and, in some cases, their places of employment with anyone

  who has access to the Internet. [Pl. MSJ, Ex. G, Gray Dep., 37:23 to 50:22.]




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        One of the escorts, Ms. Gray, who is the head of the volunteer clinic escort

  team and was the City Council’s primary source of information about the activity

  outside MMA [Pl. MSJ, Ex. G, Gray Dep. 13:4-21], in addition to revealing her

  name, her picture, her clinic escort work and the identity of her employer on

  Twitter, Facebook, and in Internet articles, has voluntarily chosen to affix her real

  name to something as public as the detailed Certification filed on behalf of the City

  in this very lawsuit. [Pl. MSJ, Ex. T, Certification of Ashley Gray.] It is hard to

  accept that people who are unafraid to reveal their identities when complaining

  about the Bread of Life members in public meetings, on the Internet, at the police

  station, and in this very public lawsuit, could not even once have been persuaded to

  tell their stories in a municipal or other court proceeding.5

        Moreover, the City, in describing what it calls the escorts’ “legitimate fear”

  about using “their full name and address,” Def. Brief at 12, fails to mention that

  these same escorts who, as has been shown above, have put their full names on the

  Internet for all to find, were assured by the City Council President that they need

  not use their home addresses but could, instead, simply use the clinic’s address.

  [Pl. MSJ, Ex. G, Gray Dep., 55:16 to 56:3.]

  5
    There is also the retired state trooper or off-duty police officer sitting just inside
  the door of MMA (though sometimes venturing outside) every time the Bread of
  Life “chaos” was supposedly happening on the sidewalk. [Pl. MSJ, Ex. E, Turco
  Dep. 71:18 to 72:19.] The City cannot plausibly maintain that he too was
  “legitimately afraid” to affix his name to even a single formal charge against the
  perpetrators who were allegedly wreaking havoc a few feet away.

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        At a minimum, to the extent that the City relies on the alleged unwillingness

  of witnesses to disclose their identities in public proceedings against the bad actors

  at 40 Engle Street as an excuse for not ever filing charges against them under any

  of a half dozen or more already existing laws, serious fact issues are present.

        But even if Plaintiff were to accept as true the City’s conclusory statements

  about fearful witnesses, that still would not explain, let alone excuse, Englewood’s

  reluctance to pursue existing legal remedies against actual lawbreakers before

  resorting to “unnecessarily sweeping in innocent individuals [like Plaintiff] and

  their speech” in a speech-excluding Ordinance. McCullen, 134 S. Ct. at 2538.

        To begin with, fearful witnesses are hardly something unique to matters

  arising in the crucible of controversies connected with abortion. Probably very few

  people are anxious to subject themselves to the criminal justice system, many—if

  not most—for probably the same reason that the Englewood witnesses supposedly

  were: fear of retaliation. Yet the criminal justice system has hardly gone out of

  business with prosecutors throwing up their hands in despair because witnesses

  would just as soon not take their calls. Witnesses can be, and routinely are,

  subpoenaed to testify. And while prosecutors would obviously prefer to always be

  dealing with enthusiastic, cooperative witnesses, they rarely are. Measures have

  been taken in many places to allay the concerns of victims and witnesses in some

  contexts, see, e.g., N.J.A.C 5:61-1.1 (“Address Confidentiality Program”), but no



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  one would claim that the State would be justified in not pursuing entire classes of

  criminal offenses simply because victims and witnesses have a “legitimate fear” of

  the process. In the specific context of MMA, there is even the added help of a

  security guard and a security camera to assist the City in identifying perpetrators

  and providing evidence of whatever crimes may have been committed. [Pl. MSJ,

  Ex. G, Gray Dep., 53:6-13.]

         Finally, as Bonnie Shapiro, President of Northern NJ NOW, suggested in an

  October 24, 2014 email to Lynne Algrant, it would be “logical” for the “clinic

  itself to file complaints.” [Pl. Supp. Facts, Ex. A, Shapiro Email, ENGTUR 141.]6

  Shapiro points out that the clinic has “security guards who are there the whole time

  and can inform the clinic administrator, who can file the complaint . . . on behalf of

  the clinic.” [Id.] Even if patients and volunteer escorts are truly fearful of filing

  complaints against Bread of Life protestors, the City does not explain why, as

  Shapiro suggests, the clinic could not itself file complaints for violations of the

  law.

         For these reasons, the City’s claim of powerlessness to enforce already

  existing laws against harassment, disorderly conduct, simple and aggravated

  assault, obstructing public passages, terroristic threats, etc., simply does not ring

  true. As the Supreme Court put it in McCullen, “[i]f Commonwealth officials can

  6
    Exhibits to Plaintiff’s Supplemental Statement of Facts in Opposition to
  Summary Judgment are referred to as “Pl. Supp. Facts, Ex. ____.”

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  compile an extensive record of obstruction and harassment to support their

  preferred legislation, we do not see why they cannot do the same to support

  injunctions and prosecutions against those who might deliberately flout the law.”

  134 S. Ct. at 2540. It is odd indeed that the City was able to obtain the complete,

  voluntary cooperation of Ashley Gray in serving as a key witness and giving

  sworn, detailed testimony about the alleged crimes and misdemeanors of the Bread

  of Life members in a lawsuit challenging Englewood’s “preferred legislation”—

  this lawsuit—when, at the same time, Ashley Gray is supposed to have been too

  fearful to give similar testimony in other court venues in support of criminal

  prosecutions or applications for injunctive relief.

               D.     The City’s Failure to Seek Injunctive Relief

        Of course, what has been said about the insufficiency of the City’s

  explanation of its failure to prosecute criminally those whose actions were causing

  such havoc at 40 Engle Street, applies with even greater force to its failure to

  pursue injunctive relief. This failure is all the more remarkable given the former

  Police Chief’s testimony that it was precisely the injunction route that proved

  highly successful in quelling disturbances that occurred outside the same very

  abortion clinic in the 1990s. [Pl. MSJ, Ex. F, O’Keefe Cert. at ¶¶ 5-6.] The City

  offers its mere conclusion that an injunction would have been “difficult to frame

  and enforce.” Def. MSJ Statement of Facts, ECF Doc. 44-1, at 28.



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        But that is not the approach the Supreme Court took in McCullen. On the

  contrary, the High Court, addressing virtually the same set of facts as in

  Englewood, indicated that in these situations the injunction remedy is possibly the

  best solution for all sides. See McCullen, 134 S. Ct. at 2538 (noting that the

  government could achieve a narrowly tailored solution, “through public and private

  civil actions for injunctions and other equitable relief,” id.; that the Court had

  “previously noted the First Amendment virtues of targeted injunctions as

  alternatives to broad, prophylactic measures,” id.; and that the virtue of injunctive

  relief is that it “focuses on the precise individuals and the precise conduct causing

  a particular problem,” id.”) (internal citations omitted).

        So in Englewood, where the identities of the individuals causing the

  problems were well known [Pl. MSJ, Ex. G, Gray Dep., 50:23 to 51:6], and the

  effectiveness of injunctions to curb protestor excesses at this very same site was

  also well known [Pl. MSJ, Ex. F, O’Keefe Cert. at ¶¶ 5-6], the City’s failure to

  pursue that route before settling for the Ordinance, which infringes on the First

  Amendment rights of people like Turco, is inexcusable.

        The City claims that it urged MMA to seek an injunction—whether before

  or after the adoption of the Ordinance is a matter of factual dispute. But whenever

  it was, this merely proves that the City was familiar with the remedy and knew

  from experience that it was a highly effective way to control any excesses



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  connected with anti-abortion protests. Of course, nothing would have prevented the

  City itself from seeking injunctive relief as the problem sought to be alleviated,

  while occasioned by the activities of the MMA clinic, was not limited to the area in

  front of MMA according to the City’s own witnesses.7 In any event, the allegedly

  unlawful conduct was taking place on the City’s property—the public sidewalk—

  not the clinic’s. The City’s attempt to pass the buck for policing its streets and

  sidewalks to MMA simply does not fly under McCullen.

        The Supreme Court could not be any clearer that adopting an Ordinance that

  carves up a traditional public forum into arcs and rectangles of free speech and no-

  free speech zones (and shifting ones at that8) is never to be preferred to injunctive

  relief in which “courts can tailor a remedy to ensure that it restricts no more speech

  7
    McCullen envisions “public or private” injunctions, 134 S. Ct. at 2538, and the
  federal FACE Act expressly provides for injunction actions to be brought by
  attorneys for the federal or state governments in addition to remedies available to
  private parties.18 USCA § 248 (c)(2)(3).
  8
     It is worth noting that the 40 Engle Street buffer zones were originally
  “inappropriately” delineated—not as the arcs described in the Ordinance—but as
  parallel white lines beginning 8 feet from each edge of the clinic’s 8-foot wide
  door and each edge of the 8-foot wide driveway and running to the street. This
  created two 24 foot wide no-speech zones. Several months later, the arcs were
  added, but the white lines remain to this day. Sometime after that, the arc to the left
  of the clinic front door was covered up with decorative stones by the owners of the
  adjacent restaurant with the acquiescence of the City. [Pl. MSJ, Ex. I, Algrant
  Dep., 73:20 to 75:19; 80:4-22; see also photographs attached at Pl. MSJ, Ex. D,
  Turco Dec., at ¶¶ 14-19.] Apparently, in this case, the City’s compelling interest in
  safeguarding women’s right of access to reproductive health care yielded to the
  “right” of a private restaurateur to offer al fresco dining with suitable—to borrow
  Algrant’s term—“atmosphere.” [Id.]

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  than necessary.” McCullen, 134 S. Ct. at 2538. In failing to show that it

  “reasonably rejected” this readily available “alternative measure” before adopting

  the Ordinance, Englewood has shown that it has not met its burden. See Bruni, 824

  F.3d at 371.

        E.       The City’s failure to enact less sweeping, targeted ordinances

        In its Brief, the City does not address the one alternative that the McCullen

  Court devoted significant attention to: adopting narrowly tailored laws that target

  no more than the evil sought to be alleviated “without excluding individuals from

  areas historically open for speech and debate.” McCullen, 134 S. Ct. at 2539. In

  fairness, this may be because such laws already existed, at the federal, state, and

  local level. Indeed, one of the ironies of this matter is that the law which was

  replaced by the Ordinance—a law which to Plaintiff’s knowledge was never

  challenged on constitutional or other grounds—would appear to address more of

  the alleged Bread of Life misconduct than the challenged Ordinance does, and do

  so “without excluding individuals from areas historically open for speech and

  debate.” Id.

        For starters, the prior version of Englewood City Code § 307-3 [Pl. MSJ, Ex.

  U] not only prohibited blocking access to health care facilities, it also made it

  unlawful to “interfere with” or “impede” any person having a lawful right to enter

  or leave a health care facility. [Id.] Those terms could arguably encompass much of



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  the conduct of the Bread of Life members that was being complained of in late

  2013. Moreover, the prior Ordinance was not limited to any particular areas of the

  sidewalk, or even the sidewalk at all. Algrant was receiving complaints about

  Bread of Life members harassing (“interfere with”) and blocking or surrounding

  (“impeding”) patients and others down the block from 40 Engle and even across

  the street. [Pl. MSJ, Ex. I, Algrant Dep. 33:23 to 34:10; 30:18 to 31:12.] Since not

  all the complained of conduct was taking place within what later became the buffer

  zones under the Ordinance, it seems clear that the prior version was potentially far

  more effective than the current Ordinance—if it had only been enforced—without

  suffering from its constitutional defects. The City’s contention that the prior

  ordinance was inadequate because it only prohibited “intentionally blocking a

  doorway,” Def. Brief at 15, is simply incorrect.

        Nor can the City give a satisfactory explanation of how the Ordinance was

  supposed to be superior to its predecessor when the enforcement mechanism of the

  Ordinance is exactly the same as the enforcement mechanism of the law it

  replaced, and, indeed, every other law: a complaint brought by a victim or witness

  to its violation. Since all of the witnesses to violations of the new buffer zone law

  would presumably be the same people who, we are told, were in “legitimate fear”

  of coming forward about a whole host of violations of already existing laws, how

  does the Ordinance even begin to address the City’s problem? The City has no



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  coherent response to this. Algrant’s supposition that this group of “aggressive and

  violent” fanatics who had theretofore shown no respect for patients, doctors, pro-

  choice escorts, or even pro-life sidewalk counselors would suddenly be tamed by

  the mere existence of a buffer zone Ordinance is incredible on its face. [Pl. MSJ,

  Ex. I, Algrant Dep., 89:8-20.] It also contradicts the City’s own Statement of Facts,

  describing patients being blocked from entering the clinic, and protestors

  respecting an informal “no-go zone” only while police were physically present. See

  Def. MSJ Statement of Facts, ECF Doc. 44-1, at ¶¶ 9, 21, and 22. Moreover, in an

  October 20, 2014, email from the MMA Escort Team to Lynne Algrant and others,

  it was reported that one of the Bread of Life leaders, Robert Parker, stopped in the

  middle of the buffer zone, slammed his sign to the ground, and would not leave

  until the security guard told him to do so. [Pl. Supp. Facts, Ex. B, Emails,

  ENGTUR 132.]

        In sum, the City’s failure to engage McCullen’s discussion of the

  preferability of enacting narrowly tailored measures that do not infringe free

  speech most likely has only one explanation: such measures already existed. The

  City simply failed to enforce them.




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  III.   THE CITY’S RED HERRINGS

         A.   Whether or not the Ordinance was “effective”

         The City makes much of what it claims is the effectiveness of the buffer

  zone Ordinance in dealing with the issues that arose in October 2013 on the city

  sidewalk at 40 Engle Street. But whether or not the Ordinance was effective is

  completely irrelevant to the question of whether or not it violates the First

  Amendment. While an ordinance banning all “controversial” speech on

  Englewood’s sidewalks would likely have been even more effective, it would,

  undoubtedly, be also unconstitutional. It matters not whether the buffer zone

  Ordinance succeeded in attaining the City’s goals in enacting it; the issue is

  whether or not it runs afoul of the First Amendment.

         But even if effectiveness were in any way relevant—it is not—the City’s

  claim that the Ordinance was a “success” is belied by the documents supplied by

  the City in discovery. As detailed in correspondence among Council President

  Algrant, the clinic escorts, and representatives of North Jersey NOW, the

  Ordinance seems to have been something of a flop. Not only did it fail to end the

  allegedly unlawful behavior of the Bread of Life group that had prompted the

  passage of the measure to begin with, the situation had actually deteriorated within

  a few months after the Ordinance’s adoption to the point where NOW

  representatives and the escorts were urging the City to “enforce the law” or get an



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  injunction. [See Pl. Supp. Facts, Ex. B, Emails; Pl. MSJ, Ex. P, Def. Initial

  Disclosures.] It is telling to read Algrant, the driving force behind the adoption of

  the Ordinance, say about this measure that purported to be the culmination of a

  deliberate, step-by-step process aimed at curbing aggressive and violent protests:

  “[T]he buffer zone doesn’t have a lot of teeth as we knew.” [Pl. Supp. Facts, Ex.

  C, Email of Lynne Algrant (emphasis added).] In other words, not only was the

  Ordinance proving to be ineffective six months after its adoption, apparently the

  City suspected all along that it would be. In short, to the extent that the

  effectiveness vel non of the Ordinance could ever be relevant, it is sharply

  disputed.9

        B.     Whether or not Plaintiff too was bothered and wanted action

        It is also irrelevant that, as Defendants point out, Turco herself was troubled

  by the behavior of the Bread of Life people and wished that something would be

  done about their more excessive antics. Plaintiff readily admits this. [Pl. MSJ

  Statement of Material Facts, ECF Doc. 43-3, at ¶ 8.] This case turns not on whether

  some protestors were misbehaving, nor on whether people on both sides of the

  underlying issue wished the bad actors could be brought to heel somehow, but,

  9
    It is more than a bit of a stretch to contend, as the City does, that there is any
  cause and effect relationship between the adoption of the Ordinance in March 2014
  and what appears to be the smaller number of Bread of Life protestors regularly
  showing up as of February 2017, especially in light of the well-documented
  worsening of the situation in October 2014 and Algrant’s admission that the
  Ordinance lacked “teeth.”

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  rather, on what means the City undertook to do it. Surely, the City cannot be

  suggesting that because Plaintiff thought some measures should be taken, that the

  City was justified in taking any measures whatsoever, no matter how restrictive of

  the constitutional liberties of Plaintiff and other law-abiding citizens.

        C.     Whether the buffer zone is 8-feet, 15-feet, 35-feet, or more

        The City, throughout its Brief, refers to the “8-foot buffer zone” and hopes,

  by doing so, to minimize the potential burden on Plaintiff’s exercise of her

  freedom of speech. But even leaving to one side the Third Circuit’s utter rejection

  of this sort of numbers game in Bruni, 824 F.3d at 368—“smaller buffer zones are

  not always better”—the City’s characterization is highly misleading and fails to

  take into account (1) that there actually two separate zones in front of the MMA

  clinic and that (2) taken together, and as described in the body of the Ordinance,

  their configuration renders impossible anything resembling normal communication

  between two individuals walking in front of 40 Engle Street when only one of

  them happens to fall within the exemptions to the Ordinance’s speech ban. [Pl.

  MSJ, Ex. D, Turco Dec., at ¶¶ 14-19; see also photographs attached thereto.]

  Between the presence of two different zones that—at least alongside the building

  itself cover a width of 24 feet each—and the two 8 foot-wide rectangles that extend

  out to the street—requiring non-exempt speakers to walk into the street and around




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  parked cars—the Ordinance can hardly be fairly described as a mere “8 foot buffer

  zone.” [See Pl. MSJ, Ex. D, Turco Dec., at ¶¶ 15-30.]




  [PL. MSJ, EX. D, Turco Dec., attached Ex. A.]

        The fact is that, under McCullen and Bruni, what matters is not the amount

  of real estate that falls within buffer zones, but, rather, the extent of the burden the

  zones impose on speech. And despite some jabs thrown in that direction, see, e.g.,

  Def. Brief at 33, the City never really refutes Plaintiff’s testimony about how she

  has been forced by the Ordinance to alter her former method of close, personal,

  quiet conversation with individuals approaching the clinic from either side of the

  building. [Pl. MSJ, Ex. D, Turco Dec., at ¶¶ 12-30.]



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        The City does purport to give advice to Plaintiff about how she could still try

  to communicate with people in spite of what the City dares not dispute is some

  restriction on her ability to exercise her right of freedom of speech in a traditional

  public forum. But that has things exactly backwards. The burden is not on the

  Plaintiff to try to work around an unconstitutional restriction of her rights; the

  burden is on the City to demonstrate that it tried appropriate alternative measures

  to avoid restricting those rights in the first place. United States v. Playboy Entm’t

  Grp., Inc., 529 U.S. 803, 816 (2000) (“[w]hen the Government restricts speech, the

  Government bears the burden of proving the constitutionality of its actions.”);

  United States v. Marcavage, 609 F.3d 264, 279 (3d Cir. 2010) (“The burden is on

  the government to justify a restriction on speech.”).

        By not directly rebutting Turco’s description of the ways in which the

  Ordinance has limited her ability to effectively communicate with persons

  approaching the clinic, and by contenting itself merely with suggesting ways she

  might try to work around its proscriptions, the City has failed to refute Plaintiff’s

  basic contention that the Ordinance imposes on her and other similarly situated

  persons “serious burdens” that “compromise [their] ability to initiate the close,

  personal conversations that they view as essential to ‘sidewalk counseling.’”

  McCullen, 134 S. Ct. at 2534.




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        For these reasons, the City’s reliance on Brown v. City of Pittsburgh, 586

  F.3d 263 (3d Cir. 2009) and the district court opinion in Bruni v. City of

  Pittsburgh, 91 F. Supp. 3d 658 (W.D. Pa. 2015), regarding the size and effect of

  buffer zones, is woefully misplaced. Def. Brief at 32-33. Not only did the Third

  Circuit vacate the district court’s decision in Bruni on the plaintiffs’ First

  Amendment claims, 824 F.3d at 375, thus undermining whatever persuasive

  authority that decision might have otherwise had, the City is incorrect that “the

  Third Circuit affirmed the dismissal of plaintiffs’ preliminary injunction

  application” in that case. Def. Brief at 24. Bruni explicitly points out that the

  plaintiffs in that action did not appeal the denial of a preliminary injunction. 824

  F.3d at 360 (noting that the plaintiffs “seek review only of the dismissal of their

  First Amendment and Due Process claims against the City and not the denial of

  their preliminary injunction motion”) (emphasis added). A court of appeals cannot

  affirm a judgment that was not appealed.

        Even if the Bruni district court did carry any persuasive authority or weight,

  the City’s “a fortiori” argument based on that decision is an erroneous one in light

  of the Third Circuit’s decision on appeal. Def. Brief at 33. Bruni could not have

  been plainer that such a fortiori arguments in the context of evaluating buffer zone

  restrictions and effects are invalid:

        McCullen employs a level of rigor that Brown did not approach. In
        fact, Brown engaged in no narrow-tailoring analysis of its own. It

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        instead incorporated the analyses of Madsen and Schenck by reference
        and concluded that Pittsburgh's buffer zone was “a fortiori
        constitutionally valid” in light of those past cases. At the very least,
        McCullen has called that approach into question, clarifying that the
        particular facts of each case must be examined. No buffer zone can be
        upheld a fortiori simply because a similar one was deemed
        constitutional, since the background facts associated with the creation
        and enforcement of a zone cannot be assumed to be identical with
        those of an earlier case, even if the ordinances in the two cases
        happened to be the same.

  824 F.3d at 360 (citation omitted).

        The City’s use of Brown therefore fares no better than its use of the Bruni

  district court opinion. Indeed, after a lengthy and detailed discussion of Brown and

  its antecedents, and McCullen’s clarification of the law, the Third Circuit in Bruni

  concluded that “McCullen represents an important clarification of the rigorous and

  fact-intensive nature of intermediate scrutiny’s narrow-tailoring analysis, and the

  decision is sufficient to call into question our conclusion in Brown.” 824 F.3d at

  372-73 (citing In re Krebs, 527 F.3d 82, 84 (3d Cir. 2008) (“A panel of this Court

  may reevaluate the holding of a prior panel which conflicts with intervening

  Supreme Court precedent”)).

        Despite McCullen’s clear applicability to the facts of this case, the City

  spends no appreciable time explaining how the principles and rationale enunciated

  in that case vindicate the City’s position and its Ordinance. Instead, it relies on a

  district court opinion reversed on appeal, and a court of appeals opinion superseded




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  by a Supreme Court decision. The weakness of the City’s legal arguments is

  therefore all too apparent.

        With respect to Hill v. Colorado, 530 U.S. 703 (2000), see Def. Brief at 34,

  this Court should place as much weight on that decision as the Supreme Court did

  in McCullen: none. Even though both Hill and McCullen dealt with legislation

  regarding buffer zones in both the abortion and free speech context, the McCullen

  Court nowhere relies upon, explains, or applies Hill. In fact, except to note that the

  prior Massachusetts abortion buffer zone law was modeled after the Colorado

  statute at issue in that case, 134 S. Ct. at 2525, McCullen does not even cite the

  decision.

        Even still, the statute in Hill is different than the Ordinance here. In Hill, the

  Colorado law created an 8-foot restriction on an unwanted physical approach to a

  person accessing a health clinic. 530 U.S. at 707. The Ordinance, however, creates

  an absolute ban on non-exempt speech within the zones. Thus, in the context of the

  obstacle course of zones that have been created outside MMA, Turco cannot cross

  into a zone to continue speaking one-on-one with a patient, even if the patient

  wishes to hear what Turco has to say. Cf. Doe v. Gov. of New Jersey, 783 F.3d

  150, 155 (3d Cir. 2015) (“the First Amendment protects both the speaker and the

  recipient of information. . . . The listener’s right to receive information is

  reciprocal to the speaker’s right to speak.”).



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        Finally, while McCullen states that the Massachusetts buffer zones “clearly

  serve[d]” the interests of ensuring public safety and access to pregnancy-related

  services, 134 S. Ct. at 2535, as the City states, Def. Br. at 35, the whole point of

  McCullen is that Massachusetts could have, and should have, furthered these

  interests through more narrowly tailored efforts than blanket exclusions of speech

  in traditional public fora.     It is not enough to say that buffer zones serve

  government interests. The government must demonstrate that those zones are

  narrowly tailored to further those interests. The City has not done so here.

  IV.   PLAINTIFF’S OVERBREADTH CLAIM

        Plaintiff’s Complaint alleges that “[t]he Ordinance is significantly overbroad

  and burdens substantially more speech than is necessary to achieve the City’s

  asserted interests.” Complaint, ECF Doc. 1, ¶ 66. The City’s motion for summary

  judgment is silent as to this allegation.

        As argued in Plaintiff’s own motion and memorandum for summary

  judgment, the Ordinance is vastly overbroad and therefore void. ECF Doc. 43-2, at

  35-37. Though it is undisputed that the Ordinance was adopted in the wake of

  activities by Bread of Life members on the public sidewalk at 40 Engle Street, the

  Ordinance, by operation of its definitions of “health care facility” and “transitional

  facility,” authorizes the creation of buffer zones at innumerable locations

  throughout Englewood. [Pl. SMJ, Ex. A, Text of Ordinance.]



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        This is not theoretical. In April 2014, the Englewood police marked off

  buffer zones at five medical facilities in Englewood, in addition to MMA, and

  indicated that they would continue to “identify the other medical facilities and

  mark out buffer zones.” [Pl. Supp. Facts, Ex. D, Email of Chief of Police.]

        It cannot seriously be denied that the creation of no-speech zones outside a

  plethora of facilities in Englewood is substantially overbroad when the record is

  crystal clear that the impetus behind the Ordinance was the alleged illegal activities

  outside only one facility. “[A] law may be invalidated as overbroad if a substantial

  number of its applications are unconstitutional, judged in relation to the statute’s

  plainly legitimate sweep.” Bruni, 824 F.3d at 374 (quoting United States v.

  Stevens, 559 U.S. 460, 473 (2010)).

        But this Court need not declare the Ordinance overbroad when these very

  same facts prove that the Ordinance is also not narrowly tailored. See McCullen,

  134 S. Ct. at 2540, n. 9. After discussing more narrowly tailored laws that

  Massachusetts could have adopted to achieve its interests, the McCullen Court

  pointed out that

        [a]nd to the extent the Commonwealth argues that even these types of
        laws are ineffective, it has another problem. The portions of the record
        that respondents cite to support the anticongestion interests pertain
        mainly to one place at one time: the Boston Planned Parenthood clinic
        on Saturday mornings. Respondents point us to no evidence that
        individuals regularly gather at other clinics, or at other times in
        Boston, in sufficiently large groups to obstruct access. For a problem
        shown to arise only once a week in one city at one clinic, creating

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        35-foot buffer zones at every clinic across the Commonwealth is
        hardly a narrowly tailored solution.

  134 S. Ct. at 2539 (emphasis added) (citations omitted).

        This passage applies with full force here. Though the City intended to

  address concerns at only one location, its legislative solution creates buffer zones

  throughout Englewood where there is no evidence of any concerns whatsoever. A

  regulation of speech is narrowly tailored only “if it targets and eliminates no more

  than the exact source of the ‘evil’ it seeks to remedy.” Frisby v. Schultz, 487 U.S.

  474, 485 (1988). For this reason alone, the Ordinance is not narrowly tailored. See

  Pl. MSJ Br., ECF Doc. 43-2, at 18-20.10

        Whether the Ordinance is adjudged to be overbroad or not narrowly tailored,

  the result is the same: it is unconstitutional.

  10
     It is worth noting that after McCullen, Madison, Wisconsin, chose to no longer
  to enforce its abortion buffer zone ordinance modeled upon the Colorado statute at
  issue in Hill. See “Abortion buffer zone laws begin falling after Supreme Court
  ruling,” L.A. Times (July 7, 2014), http://www.latimes.com/nation/nationnow/la-
  na-nn-buffer-zone-laws-struck-down-20140707-story.html. According to a memo-
  randum to city officials by the Madison city attorney:
          In the case of the Madison ordinance, the City did extend the buffer
          zone to other health facilities even though the problems mostly
          developed at a clinic providing abortion services. The City also has
          little evidence that it tried enforcing other ordinances or statutes
          before adopting the buffer zone law. Because of these differences
          between our ordinance and the new standards announced in McCullen,
          the City likely cannot enforce the ordinance as written.
  “Recommendation Regarding Sec. 23.01, MGO, in Light of the U.S. Supreme
  Court’s Decision in McCullen v. Coakley” (July 10, 2014) (emphasis added),
  http://www. adfmedia.org/files/MadisonMayLetter.pdf. See also, Pl. MSJ Brief at
  15, n.2, ECF Doc. 43-2 (noting how Portland, Oregon did the same).

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                                  CONCLUSION

        Without waiting for the benefit of guidance from the U.S. Supreme Court,

  which was at the time considering a constitutional challenge to a virtually identical

  buffer zone law, in March 2014, Englewood adopted an Ordinance that suffers

  from the same flaws as the Massachusetts law struck down three months later by a

  unanimous Court. Englewood’s motion fails to demonstrate the absence of fact

  questions and/or that, as a matter of law, in both its language and the circumstances

  of its adoption, the challenged Ordinance passes the Court’s test of intermediate

  scrutiny as set forth in McCullen. The motion should be denied.

        Respectfully submitted on this 21st day of May, 2017.


 /s/ Francis J. Manion
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                           CERTIFICATE OF SERVICE

        I hereby certify that on May 22, 2017, I electronically filed the foregoing

  document with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all CM/ECF participants. I also caused to be sent by

  United States Mail, first class postage prepaid, a true and correct courtesy copy of

  the foregoing to the Chambers of the Honorable Susan D. Wigenton, United States

  District Court, District of New Jersey, 50 Walnut Street, Newark, New Jersey

  07101.

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